                                                    U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    February 20, 2023

Honorable Denise Cote
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:    United States v. James Velissaris,
              22 Cr. 105 (DLC)

Dear Judge Cote:

         The Government writes to respectfully request a one-week adjournment of the
defendant’s sentencing, currently scheduled for March 17, 2023, as well as one-week
adjournments of the corresponding sentencing submission deadlines. The reason for the request
is that the below-signed AUSA’s February trial has unexpectedly been adjourned by one week.
Previously, the trial was scheduled to begin February 21 and end by March 10. Now, after the
unexpected adjournment, the trial will begin February 28 and end by March 17.

       Defense counsel consents to this adjournment request.

                                             Respectfully submitted,

                                             DAMIAN WILLIAMS
                                             United States Attorney


                                       by:        /s/
                                             Margaret Graham
                                             Assistant United States Attorney
                                             (212) 637-2923

cc:    Defense counsel (by ECF)
